        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 1 of 7




 1 MICHAEL W. BIEN – 096891                           OREN NIMNI*
   ERNEST GALVAN – 196065                              Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                           AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                      Md. Bar No. 2112150205
 3 ROSEN BIEN                                         D DANGARAN*
   GALVAN & GRUNFELD LLP                               Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                    RIGHTS BEHIND BARS
   San Francisco, California 94105-1738               416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                          Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                        Telephone: (202) 455-4399
 6              egalvan@rbgg.com                      Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                                  amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                           d@rightsbehindbars.org
                                                      *
 8 SUSAN M. BEATY – 324048                                Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                                 UNITED STATES DISTRICT COURT
14                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                               Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of               DECLARATION OF M
   themselves and all others similarly situated,                S         IN SUPPORT OF
17               Plaintiffs,
                                                                PLAINTIFFS’ MOTIONS FOR
                                                                PRELIMINARY INJUNCTION
18        v.                                                    AND PROVISIONAL CLASS
                                                                CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4335543.1]
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 2 of 7




 1                 I, M       S        , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and am currently incarcerated at FCI
 6 Dublin’s satellite camp from May 2022 to present. While I have just been designated for
 7 transfer to FPC Bryan to participate in RDAP (Residential Drug Abuse Program), at any
 8 point I could be transferred back to FCI Dublin’s satellite camp.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 sexual assault, harassment, and retaliation from staff.
13                 4.     Between May and October 2022, I was sexually harassed by a female
14 medical technician at FCI Dublin during three medical appointments for x-rays and
15 treatment of the osteoarthritis in my knees. At my first appointment in May 2022, the
16 technician smacked my butt while examining me. During my second appointment, also in
17 May 2022, she asked me to completely remove my pants to take x-rays, even though I
18 could have easily pulled my pants above my knees. I told her I did not feel comfortable,
19 and even started crying, and she ignored me.
20                 5.     Following these two appointments, I reported these incidents to Special
21 Investigative Services (SIS) and the Department of Justice via email. I was interviewed by
22 Lieutenant Putnam on or around June 26, 2022. Lieutenant Putnam said he would follow
23 up about the issue, but I never heard anything from him or SIS.
24                 6.     Shortly after I met with Lieutenant Putnam, I developed a sinus infection,
25 and I put in a “sick call,” or request for a medical appointment. The medical unit ignored
26 my sick call. I put in five more sick calls. Medical staff, Mr. Parks, told me that if I filed
27 another sick call, they would move me to the end of the waiting list. I was finally able to
28 see medical staff in August. By that point, my infection had gotten much worse, I was in
     [4335543.1]                                          2
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 3 of 7




 1 constant, excruciating pain, and I had to go on very intense antibiotics. Though we often
 2 have to wait a long time to see medical staff, I felt like I was being punished for reporting
 3 the incidents with the medical technician.
 4                 7.    Around September 2022, I had to go back to medical for a third x-ray
 5 appointment with the same female technician. The technician once again asked me to
 6 remove my pants and undergarments. I informed the technician that I was not wearing any
 7 underwear and requested a blanket to cover myself. The technician responded that she did
 8 not care, did not have a blanket, and had me remove my pants for the appointment. I felt
 9 very vulnerable, and I even cried. As a survivor of sexual assault, these incidents brought
10 up a lot of past feelings.
11                 8.    I have a lot of medical problems, but because of these incidents, I’m very
12 nervous about seeking medical care at FCI Dublin. I was also informed by a friend who is
13 incarcerated at FCI Dublin that the same technician also made her completely remove her
14 pants to do an x-ray.
15                 9.    Following the third appointment, I sent a message on CorrLinks, the BOP
16 email system, to attorney Susan Beaty. I knew that the messages were monitored so I
17 simply wrote “it’s still happening here” and asked for a meeting with Attorney Beaty. I
18 met with Attorney Beaty the following month at FCI Dublin. The legal visit took place in
19 the camp visitation room, with a staff person present and within earshot.
20                 10.   Days after the legal visit, Lieutenant Putnam called me into the chapel for the
21 meeting. He had read my message to Attorney Beaty and he had written notes about it on
22 his notepad; he read the message out loud to me and asked me: “What did you mean by
23 this?” He told me “I know who Susan is, what did you tell her?” I felt extremely
24 intimidated and uncomfortable. I explained that I had messaged Attorney Beaty about the
25 incidents with the medical technician that I reported to him several months earlier in June.
26 He said he had no idea what I was talking about, and that he did not remember me ever
27 filing a report. He made me recount my experiences to him again. He asked me repeatedly
28 if the incidents were “sexual” or merely “inappropriate,” and warned me that if the
     [4335543.1]                                        3
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 4 of 7




 1 incidents were “sexual” he would need to escalate it. I felt like he was pressuring me to say
 2 that the incidents weren’t sexual. I told him that my mother had raised me with the
 3 principle: if something feels wrong, it probably is wrong and you should tell someone. I
 4 told him that the incidents felt sexual and inappropriate and that I was telling someone:
 5 him. He ended the meeting.
 6                 11.   When I arrived at FCI Dublin’s satellite camp in May 2022, I do not recall
 7 receiving comprehensive education about PREA or staff misconduct. I did not attend any
 8 training session and was not shown a video. I may have signed some paperwork regarding
 9 PREA, but I was asked to sign a lot of paperwork when I first got to FCI Dublin’s satellite
10 camp. No one taught me how to file a PREA report, and when it came time to report the
11 incidents with the medical technician, I had to figure it out myself.
12                 12.   There is no effective way to confidentially report sexual assault and abuse by
13 staff at FCI Dublin’s satellite camp. When I reported my experiences with the medical
14 technician in June 2022, I had to send messages to SIS and the Department of Justice via
15 email on computer screens that could be seen by staff and other incarcerated people.
16                 13.   Staff at FCI Dublin also prevent people from reporting sexual assault and
17 abuse by staff and retaliate against people who do report. After I spoke with SIS
18 Lieutenant Putnam, medical staff ignored my requests for medical care for nearly two
19 months. I am very nervous to submit this declaration because I know that I will face
20 retaliation as a result.
21                 14.   When incarcerated persons report sexual assault and abuse by staff, FCI
22 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
23 delayed and overseen by staff who know and work with the offending staff member.
24 Generally nothing happens as a result. I reported my experiences with the medical
25 technician in June and did not hear anything from prison staff for nearly six months.
26 Lieutenant Putnam only followed up with me after I contacted an attorney, and he claimed
27 that I had never filed a report to begin with.
28                 15.   The living conditions here are dire. In the camp, asbestos covers our ceilings
     [4335543.1]                                        4
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 5 of 7




 1 and travels through our air vents. The food in the cafeteria and in the commissary are
 2 expired. Around April or May of this year, I purchased bottles of juice that expired back in
 3 March. There have been instances where I’ve left a clear straw in a cup of tap water only
 4 to come back to it and see that the straw has changed to a dark black color. I no longer
 5 drink the tap water here for my own safety. Additionally, I work in recycling and was
 6 forced to sign a waiver alleging that I was trained to handle materials and protect myself
 7 against hazards such as asbestos. I was trained for neither of those things.
 8                 16.   There is no confidential mental health care available to survivors of sexual
 9 abuse and assault at FCI Dublin. I requested mental health services when I first reported
10 the incidents with the medical technician in June. I received support (although I would not
11 describe it as counseling) for the first time around March or April 2023, with Tri-Valley
12 Haven, nearly nine months after the incidents in June. I had a session with one of their
13 counselors. In order to get this session, I had to send an email to a prison staff person. I felt
14 like I was outing myself as someone who was sexually abused by staff, and who reported a
15 staff member. This made me extremely nervous, because it’s well known that staff people
16 talk to and protect one another, but I really needed to speak with someone. I have not
17 received counseling from a clinically trained professional.
18                 17.   The medical care at FCI Dublin is terrible. It regularly takes weeks or
19 months to be seen by medical staff. We did not have a doctor for a very long time, but now
20 have Dr. Fish, although she is not present every day. I am not getting sufficient care for
21 my many medical conditions. I was recently given expired antibiotics for an infection. In
22 addition, in or around July 2023, I received my medical records; upon reviewing them, I
23 noticed that there were many errors in the records. For example, it noted a history of
24 diabetes in my family, but there is no diabetes in my entire family; it also noted that my
25 tonsils were in good condition, but I had my tonsils removed at age three. These
26 inaccuracies further undermine my confidence in the healthcare being provided at FCI
27 Dublin.
28                 18.   Around January 2023, I began to develop boils on my skin, first on my
     [4335543.1]                                        5
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 6 of 7




 1 armpits and then on my abdomen and thighs. I put in a med slip around April 2023, and in
 2 or around May 2023, I was seen by Dr. Souferzadah. He refused to look at or examine my
 3 skin, and simply remarked that it was a hygiene problem. I did not believe that was the
 4 case because I shower every day, wash my clothes every two days, and wash my bedding
 5 once per week. I had never had anything like this before, and several other people at FCI
 6 Dublin were having the same problem. Nonetheless, Dr. Souferzadah would not look at the
 7 boils or in any way examine my skin. He simply said: “Wash yourself and your clothes
 8 and your bedding.” I suspect that there may be chemicals I’m being exposed to that are
 9 causing these boils; I work in recycling, and we do not receive adequate PPE to protect
10 ourselves (although we are sometimes able to get rubber gloves or paper masks, we are
11 often forced to work without them).
12                 19.   Back in April 2023, there was a COVID 19 outbreak at FCI Dublin. But even
13 when people were sick, the facility refused to test us. On or around April 27th, I went to
14 medical because I was experiencing a lost sense of smell, fever, chills, cough, fatigue, and
15 cold sweats; it felt like I had the stomach flu and a head cold at the same time. However,
16 they refused to test me for COVID 19 and said it was probably just a seasonal cold. When
17 I asked for medication, I was told that cold medicines are available from commissary.
18 When I said that commissary was closed until the following week, which was about four
19 days later, I was told to ask my friends for help.
20                 20.   There are some fixed cameras installed at the camp, but it’s well known that
21 there are a lot of areas without cameras, including the main eating area, the education
22 rooms, the library, and the workout room. From what I can tell, staff at FCI Dublin have
23 never worn body-worn cameras in the facility and despite ongoing sexual abuse and
24 assault at the facility, staff still do not use body-worn cameras.
25 / / /
26 / / /
27 / / /
28 / / /
     [4335543.1]                                        6
                   DECLARATION OF M       S         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-31 Filed 08/17/23 Page 7 of 7
